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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


ROBERT DAVID BURELLE,                      )
          Plaintiff                        )
                                           )
vs.                                        )       CIVIL ACTION NO.:
                                           )
JACKSON LUMBER AND                         )
MILLWORK CO., INC.,                        )
          Defendant                        )


                           COMPLAINT AND JURY DEMAND

1.    The Plaintiff, Robert David Burelle is an individual residing at 199 Manchester Street,
      Manchester, New Hampshire.

2.    The Defendant, Jackson Lumber and Millwork Co., Inc., is a Massachusetts Corporation
      with a principal office at 215 Market Street, Lawrence, Essex County, Massachusetts.

                                   Jurisdiction and Venue

3.    The matters alleged herein took place in Lawrence, Massachusetts.

4.    The Plaintiff is a resident New Hampshire.

5.    The Defendant is incorporated in Massachusetts.

6.    The amount in controversy, without interests and costs, exceeds the sum or value
      specified by 28 U.S.C. §1332;

                                     Factual Allegations

7.    On or about June 3, 2020, the defendant, its agents, servants or employees were engaged
      in construction activities at or near 300 Canal Street, Lawrence, Essex County,
      Massachusetts.

8.    On or about June 3, 2020, an agent, servant or employee of the defendant, was unloading
      building materials from a truck.

9.    On or about June 3, 2020, the plaintiff, Robert David Burelle was lawfully performing
      work at 300 Canal Street, Lawrence, Essex County, Massachusetts.
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10.    At the same time and location as described above, an agent, servant and or employee of
       the defendant, carelessly and negligently caused building materials to fall from a truck
       onto plaintiff’s person.

11.    The Plaintiff, Robert David Burelle, sustained severe personal injuries as a result of the
       negligence of the Defendant, Jackson Lumber and Millwork Co., Inc.

12.    Plaintiff’s injuries were a direct and proximate result of the negligence of the Defendant,
       its agents, servants or employees.

13.    As a result of Defendant’s negligence and resulting injuries, the Plaintiff, Robert David
       Burelle, sustained severe personal injuries; pain and suffering; incurred medical
       expenses; lost wages; and suffered pain of body and mind all to his great damage as set
       forth herein.

         WHEREFORE, the Plaintiff, Robert David Burelle demands judgment against the
Defendant, Jackson Lumber and Millwork Co., Inc., in an amount to be determined by the trier
of fact, plus interest and costs.

                                          Jury Demand

             The Plaintiff requests a trial by jury on all counts and relief requested.



                                                     Plaintiff,
                                                     By his attorneys:

                                                     /s/ Michael F. Mahoney
                                                     /s/ Ryan P. Gilday
                                                     _______________________
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